          Case 2:15-cr-00134-TLN Document 8 Filed 07/07/15 Page 1 of 3



1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    NOA E. OREN, #297100
     Assistant Federal Defender
3    Designated Counsel    for Service
     801 “I” Street, 3rd Floor
4    Sacramento, CA 95814
5    Attorney for Defendant
     DION LAROY JOHNSON, II
6
7
                       IN THE UNITED STATES DISTRICT COURT
8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,                 )   NO. 2:15-mj-134 KJN
11                                             )
                         Plaintiff,            )   STIPULATION AND [PROPOSED]
12                                             )   ORDER TO CONTINUE THE
     v.                                        )   DETENTION AND PRELIMINARY
13                                             )   HEARINGS AND EXCLUDE TIME
     DION LAROY JOHNSON, II,                   )
14                                             )
                         Defendants.           )   DATE:      July 15, 2015
15                                             )   TIME:      2:00 p.m.
                                               )   JUDGE:     Hon. Edmund F. Brennan
16
17
             The United States of America, through its counsel, Assistant U. S. Attorney
18
     Justin Lee, and defendant, Dion Laroy Johnson, II, through Assistant Federal
19
     Defender, Noa E. Oren, stipulate that the Detention Hearing and the Preliminary
20
     Hearing, currently scheduled for July 7, 2015 and July 14, 2015, respectively, be
21
     continued to July 15, 2015 at 2:00 p.m.
22
             The continuance is necessary for defense preparation in conferring with
23
     defendant and the government to negotiate a resolution to this matter prior to an
24
     indictment being filed.
25
             The parties agree that the time beginning from the date of this stipulation
26
     extending through July 15, 2015, should be excluded from the calculation of time
27
     under the Speedy Trial Act. Further, the Defendant consents to an extension of the
28
     time for a Preliminary Hearing until July 16, 2015, Fed.R.Crim.P. 5.1(d). The
        Case 2:15-cr-00134-TLN Document 8 Filed 07/07/15 Page 2 of 3


1    parties submit that the ends of justice are served by the Court excluding such time,
2    so that they may have reasonable time necessary for effective preparation, taking
3    into account the exercise of due diligence. 18 U.S.C. §3161(h)(7)(B)(iv). The
4    parties stipulate that this interest of justice outweighs the interest of the public and
5    the defendant in a speedy trial, 18 U.S.C. § 3161(b) and (h)(7)(A), and further that
6    this good cause outweighs the public’s interest in the prompt disposition of
7    criminal cases. Fed.R.Crim.P. 5.1(d).
8    Dated: July 7, 2015                             Respectfully submitted,
9                                                    HEATHER E. WILLIAMS
                                                     Federal Public Defender
10
                                                     /s/ Noa E. Oren
11                                                   NOA E. OREN
                                                     Assistant Federal Defender
12
                                                     Attorney for Defendant
13                                                   DION LAROY JOHNSON, II
14
     Dated: July 7, 2015                             BENJAMIN WAGNER
15                                                   United States Attorney
16                                                   /s/ Justin Lee
                                                     JUSTIN LEE
17                                                   Assistant U.S. Attorney
18                                                   Attorney for Plaintiff
19
20
21
22
23
24
25
26
27
28

     !Unexpected
      Stipulation andEnd
                     Orderof FormulaUnited     -2-                   US v. Johnson, 15-mj-134 KJN
        Case 2:15-cr-00134-TLN Document 8 Filed 07/07/15 Page 3 of 3


1
                                             ORDER
2
            Finding good cause, the Court orders the detention and preliminary hearings
3
     continued to July 15, 2015, at 2:00 p.m., before the Hon. Edmund F. Brennan; and,
4
     time excluded for the reasons set forth above. The Court finds that the ends of
5
     justice served by granting the defendant’s request for a continuance outweigh the
6
     best interest of the public and the defendant in a speedy trial.
7
     Dated: July 7, 2015
8
                                                _____________________________________
9                                               CAROLYN K. DELANEY
10                                              UNITED STATES MAGISTRATE JUDGE

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     !Unexpected
      Stipulation andEnd
                     Orderof FormulaUnited     -3-                      US v. Johnson, 15-mj-134 KJN
